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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                  Criminal No.

 v.
                                                  Magistrate No. 1:22-mj-140-RMM

 TODD TILLEY,
                                                  VIOLATIONS:
                 Defendant.
                                                  18 U.S.C. § 1752(a)(1) (Entering and
                                                  Remaining in a Restricted Building or
                                                  Grounds)
                                                  18 U.S.C. § 1752(a)(2) (Disorderly and
                                                  Disruptive Conduct in a Restricted
                                                  Building or Grounds)
                                                  40 U.S.C. § 5104(e)(2)(D) (Disorderly
                                                  Conduct a Capitol Building or Grounds)
                                                  40 U.S.C. § 5104(e)(2)(G) (Parading,
                                                  Demonstrating, or Picketing in a
                                                  Capitol Building)
                                      I N F O R M AT I O N

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, TODD TILLEY did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-

off, and otherwise restricted area within the United States Capitol and its grounds, where the

Vice President was and would be temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United
       States Code, Section 1752(a)(1))




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                                          COUNT TWO

       On or about January 6, 2021, in the District of Columbia, TODD TILLEY did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business

and official functions, engage in disorderly and disruptive conduct in and within such proximity

to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted

area within the United States Capitol and its grounds, where the Vice President was and would

be temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))


                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, TODD TILLEY willfully and

knowingly engaged in disorderly and disruptive conduct within the United States Capitol

Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the

orderly conduct of a session of Congress and either House of Congress, and the orderly conduct

in that building of a hearing before or any deliberation of, a committee of Congress or either

House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))




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                                       COUNT FOUR
       On or about January 6, 2021, in the District of Columbia, TODD TILLEY willfully and

knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))



                                           MATTHEW M. GRAVES
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                                           D.C. Bar No. 481 052

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                                           Detailed to the U.S. Attorney’s Office for
                                           the District of Columbia




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